          Case 17-34283 Document 63 Filed in TXSB on 10/18/19 Page 1 of 13



              IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION
IN RE:                          §
                                §         CASE NO. 17-34283-H1-7
ROBERT REYNOLDS FRETZ, JR.,     §         (CHAPTER 7)
       DEBTOR                   §         JUDGE ISGUR
                                §

                              Trustee’s Expedited Motion to Withdraw
                                  Amended Motion to Show Cause
                                (Relates to Docket Entry Number 53)

          This motion seeks an order that may adversely affect you. If you oppose the
          motion, you should immediately contact the moving party to resolve the dispute.
          If you and the moving party cannot agree, you must file a response and send a
          copy to the moving party. You must file and serve your response within 21 days
          of the date this was served on you. Your response must state why the motion
          should not be granted. If you do not file a timely response, the relief may be
          granted without further notice to you. If you oppose the motion and have not
          reached an agreement, you must attend the hearing. Unless the parties agree
          otherwise, the court may consider evidence at the hearing and may decide the
          motion at the hearing.

          Represented parties should act through their attorney.

TO THE HONORABLE MARVIN ISGUR, U.S. BANKRUPTCY JUDGE:

          Rodney Tow, Trustee, files this Trustee's Expedited Motion to Withdraw Amended Motion

to Show Cause (Docket Entry Number 53) and would show the Court as follows:

1.       On Thursday, October 17, 2019, the Trustee received from the Debtor’s attorney a cashier’s

          check in the amount of $55,000. These funds were intended to repay the estate all of the

          $50,000 distribution it was entitled to receive in December 2018 and to partially repay all of

          the attorney fees incurred by the Estate relating to these funds. The Debtor is requesting time

          to pay the remaining balance of attorney fees. That balance would have been approximately



Motion to Withdraw Motion to Show Cause                                                                           Page 1
C:\Users\Rodney Tow\Dropbox (RTPLLC)\Rodney Tow, PLLC\F\Fretz Personal\Motion to Withdraw Show Cause Motion.wpd
          Case 17-34283 Document 63 Filed in TXSB on 10/18/19 Page 2 of 13



          $3,000 but will be slightly higher since some preparation for the hearing has occurred. The

          Debtor and the Trustee intend to file a Motion to Compromise relating to the payment of the

          remaining attorney fees. The Motion to Compromise will not compromise the revocation

          of discharge issue. However, as explained below, if the estate is made whole the Trustee

          plans not pursue a revocation of discharge unless instructed otherwise.

                                                             Facts

2.       On December 13, 2018 the Debtor received a $50,000 wire transfer into his account related

          to the sale of a building owned by a partnership called SNB 412 Main (the “Partnership”).

          The Debtor, and subsequently the Estate, owned a 6% interest in the Partnership. The receipt

          of those funds occurred one day after the Trustee informed the Debtor that the Trustee was

          “trying to figure out how to deal with the partial interest in that real estate.” Despite knowing

          that the Trustee was working that interest, the Debtor did not inform the Trustee of the

          receipt of the funds and the Debtor spent the funds in the following month.

3.       When the Trustee finally learned that the distribution had occurred he began demanding

          turnover of the funds.1 When the funds were not turned over, the Trustee filed the Motion

          for Show Cause Hearing and to Revoke the Debtor's Discharge Pursuant to 11 U.S.C.

          §727(d)(2). (Docket No. 50). On September 4, 2019 the Court denied the Motion without

          prejudice. (Docket No. 51). But, earlier in the day the Debtor had contacted the Trustee

          seeking to repay the funds and make the estate whole by repaying the $50,000 plus attorney

          fees. The Debtor delivered a check in the amount of $57,039.10 which would have


          1
              A more detailed description of the events is included in the Amended Motion to Show Cause (Docket No.
53).

Motion to Withdraw Motion to Show Cause                                                                           Page 2
C:\Users\Rodney Tow\Dropbox (RTPLLC)\Rodney Tow, PLLC\F\Fretz Personal\Motion to Withdraw Show Cause Motion.wpd
          Case 17-34283 Document 63 Filed in TXSB on 10/18/19 Page 3 of 13



          eliminated any loss to the estate as of that time. The Trustee waited for what he believed was

          a sufficient time for the check to clear and once the Trustee believed the check had cleared,

          on September 12, 2019 the Trustee prepared a Status Report stating that since the estate had

          been made whole “the cost of litigating an objection to discharge would outweigh the

          advisability of pursuing the discharge revocation.” (See Exhibit A, paragraph 8). The

          Trustee sent the Status Report to the US Trustee to review. Later that day, the Trustee

          learned the check did not clear. He notified the US Trustee and did not proceed with filing

          the Status Report.

4.       The Trustee then filed the Trustee’s Amended Motion for Show Cause Hearing (Docket No.

          53). Subsequently the Debtor’s attorney contacted the Trustee about the returned check, he

          told the Trustee that he thought the Debtor could still borrow the funds from a friend but the

          friend was concerned that the discharge action would still proceed. The Trustee and Debtor

          attorney discussed that a discharge action cannot be compromised and that any resolution of

          this matter would not affect the Trustee’s ability or other statutorily authorized parties’ ability

          to pursue a discharge revocation. After a few days of considering it, the Trustee believed he

          could share the Status Report with the Debtor’s attorney and he did so.

5.       With no assurances of any sort, the Debtor through his attorney, sent the estate the $55,000

          cashier’s check mentioned above. The Debtor also requested a payout of the remaining fees.




Motion to Withdraw Motion to Show Cause                                                                           Page 3
C:\Users\Rodney Tow\Dropbox (RTPLLC)\Rodney Tow, PLLC\F\Fretz Personal\Motion to Withdraw Show Cause Motion.wpd
          Case 17-34283 Document 63 Filed in TXSB on 10/18/19 Page 4 of 13



          Based on the foregoing, the Trustee requests the Court authorize the withdrawal of the

Trustee's Expedited Motion to Withdraw Amended Motion to Show Cause, and cancel the hearing

currently set for October 23, 2019 at 11:00 AM and for such other and further relief as is just.

                                                            Respectfully submitted,

                                                            /s/Rodney Tow
                                                            Rodney Tow
                                                            State Bar Number 20152500
                                                            Fed ID 3196
                                                            Rodney Tow, PLLC
                                                            1122 Highborne Cay Court
                                                            Texas City, TX 77590
                                                            281-429-8300 (Office)


                                            CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing was mailed by first class US mail
postage prepaid or via electronically to all parties listed on attached service list.


          Signed this October 18, 2019.
                                                            /s/Rodney Tow
                                                            Rodney Tow




Motion to Withdraw Motion to Show Cause                                                                           Page 4
C:\Users\Rodney Tow\Dropbox (RTPLLC)\Rodney Tow, PLLC\F\Fretz Personal\Motion to Withdraw Show Cause Motion.wpd
                          Case 17-34283 Document
Label Matrix for local noticing           Bridgecrest63    Filed
                                                       Credit      in TXSB
                                                              Company, LLC    on 10/18/19 Lamm
                                                                                            Page   5 ofPC13
                                                                                               & Smith,
0541-4                                    Bridgecrest Credit Company, LLC                 3730 Kirby Drive, Suite 650
Case 17-34283                             PO BOX 29018                                    Houston, TX 77098-3930
Southern District of Texas                PHOENIX, AZ 85038-9018
Houston
Tue Oct 8 10:12:14 CDT 2019
PRA Receivables Management, LLC           Texas Comptroller of Public Accounts            4
PO Box 41021                              Rachel R. Obaldo                                United States Bankruptcy Court
Norfolk, VA 23541-1021                    c/o Sherri K. Simpson, Paralegal                PO Box 61010
                                          P.O. Box 12548                                  Houston, TX 77208-1010
                                          Austin, TX 78711-2548

1st Community Credit Union                    A Afforable Insulators                         AAA Paymaster Sales & Service
P.O. Box 840129                               17515 Colony Creek Dr                          4660 Beechnut Suite 209
Houston, TX 77284-0129                        Spring, TX 77379-2321                          Houston, TX 77096-1805



ABC Doors, Inc.                               ACS Flooring Group, Inc.                       AECO Interior Contractors
P.O. Box 20485                                Suite 190                                      P.O. Box 10378
Houston, TX 77225-0485                        1289 N. Post Oak Road                          Houston, TX 77206-0378
                                              Houston, TX 77055-7253


AFA Systems, Inc.                             Action Mobile Industries, LLC                  Action Parking Area Maint.
4719 Ingersoll Street                         P.O. Box 758689                                P.O. Box 2144
Houston, TX 77027-6601                        Baltimore, MD 21275-8689                       Pearland, TX 77588-2144



Action Trucking Company                       Adams Insurance Services Inc                   Alpha Threaded Products
P.O. Box 670506                               P.O. Box 7011                                  6426 Long Drive
Dallas, TX 75267-0506                         Houston, TX 77248-7011                         Houston, TX 77087-3408



Aluminium Techniques, Inc.                    Always in Season                               American Door Products
13302 Redfish Lane                            P.O. Box 271502                                P.O. Box 55187
Stafford, TX 77477-4422                       Houston, TX 77277-1502                         Houston, TX 77255-5187



American Fence Company                        American Fixtures                              Anne Whitlock and Michael Skelly
13222 Reeveston Rd                            P.O. Box 2086                                  Suite 700
Houston, TX 77039-4113                        New Caney, TX 77357-2086                       1001 McKinney St.
                                                                                             Houston, TX 77002-6448


Aquinas Companies, LLC                        Architectural Floors                           Architecture Center Houston Foundation
Suite 1200                                    1803 Allen Parkway                             Suite 120
3900 Essex Lane                               Houston, TX 77019-2504                         315 Capitol St.
Houston, TX 77027-5486                                                                       Houston, TX 77002-2827


Associated Gen. Contractors                   Athene Annunity and Life Co.                   Avadek
3825 Dacoma Steet                             P.O. Box 29047                                 12130 Galveston Rd
Houston, TX 77092-8717                        New York, NY 10087-9047                        Webster, TX 77598
Banks Plastering            Case 17-34283 Document
                                            Bayou City 63   Filed in TXSB on 10/18/19 Beirne,
                                                       Masonry                         PageMaynard
                                                                                              6 of 13
                                                                                                    & Parsons, LLP
Bldg B-100                                       6113 Clyde St.                           P.O. Box 27457
26009 Budde Rd.,                                 Houston, TX 77007-2122                   Houston, TX 77227-7457
Spring, TX 77380-2056


Big 4 Steel Services, L.P.                       Big City Access Holdings, LLC            Big Tex Welding Supply
P.O. Box 3307                                    P.O. Box 678014                          6836 Long Drive
Spring, TX 77383-3307                            Dallas, TX 75267-8014                    Houston, TX 77087-3416



Blumenthal, Inc. 401K ESOP                       Bradley Featherston                      Brandt Electrical Services, Inc.
1710 Burnett St.                                 Suite 200                                Suite 400
Houston, TX 77026-7213                           20333 State Hwy 249                      751 Carolina
                                                 Houston, TX 77070-2613                   Katy, TX 77494-8380


Bridgecrest Credit Company, LLC                  Bruegging Company                        Bugtime Termite & Pest Control
PO BOX 29018                                     11226 Charles Rd                         235 FM 1960 East Bypass
PHOENIX, AZ 85038-9018                           Houston, TX 77041-2400                   Humble, TX 77338-3624



Builders Gypsum Supply, LLP                      Burns DeLatte & McCoy, Inc.              Burts Construction, Inc.
P.O. Box 731242                                  320 Westcott                             26117 Highway 249
Dallas, TX 75373-1242                            Houston, TX 77007-7027                   Tomball, TX 77375-7356



Buyers Barricades                                CKC Steel Erectors, LLC                  (p)CLS TECHNOLOGY INC
P.O. Box 7498                                    P.O. Box 841007                          5206 EAST 3RD STREET
Ft Worth, TX 76111-0498                          Houston, TX 77284-1007                   KATY TX 77493-2112



CP Applications, LLC                             Chamberlin Houston, LLC                  Champion Rentals, Inc.
P.O. Box 590826                                  7510 Langtry                             6903 North Shepherd
Houston, TX 77259-0826                           Houston, TX 77040-6629                   Houston, TX 77091-2523



Chase                                            Circle Saw Builders Supply               Coastal Supplies and Services, Corp.
P.O. Box 15123                                   2510 Ella Blvd                           7700 Eagle Lane
Wilmington, DE 19850-5123                        Houston, TX 77008-2712                   Spring, TX 77379-3183



Commercial Tile & Marble                         Concrete Cleaning, Inc.                  Conroe Welding Supply, Inc.
11226 Charles Rd                                 P.O. Box 73452                           415 South Frazier
Houston, TX 77041-2400                           Houston, TX 77273-3452                   Conroe, TX 77301-5098



Contruction Ecoservices                          Core Associates, LLC                     Crawford Electric Supply Company, Inc.
P.O. Box 672987                                  c/o Merrill Lynch                        c/o Andrews Myers, PC
Houston, TX 77267-2987                           105 South Bedford Road                   Attn: Lisa M. Norman
                                                 Mount Kisco, NY 10549-3441               1885 Saint James Place, 15th Floor
                                                                                          Houston, Texas 77056-4176
Cristo Rey Jesuit College Case    17-34283
                          Preparatory Sc   Document    63 Filed in TXSB on 10/18/19 David
                                             D & H Masonry                           Page    7 ofArchitect
                                                                                          Morris,  13
6700 Mount Carmel Steet                      5719 Edward Drive                      5707 Reamer
Houston, TX 77087-6624                       Houston, TX 77032-2611                 Houston, TX 77096-2936



Discover                                   Discover Bank                                  Discover Loans
P.O. Box 790213                            Discover Products Inc.                         P.O. Box 6105
St. Louis, MO 63179-0213                   PO Box 3025                                    Carol Stream, IL 60197-6105
                                           New Albany, OH 43054-3025


Discover Personal Loans                    Diversified Plastering                         Don F. Russell, PC
PO Box 30954                               15250 Sellers Road                             Suite 610
Salt Lake City, UT 84130-0954              Houston, TX 77060-4516                         4635 Southwest Freeway
                                                                                          Houston, TX 77027-7105


Door King                                  Dow Pipe & Fence Supply Co                     ESC Consultants, Inc.
2209 Hurfus Dr                             1802 Preston Road                              P.O. Box 691447
Houston, TX 77092-8109                     Pasadena, TX 77503-2919                        San Antonio, TX 78269-1447



Eickhof Columbaria, Inc.                   Empire Steel Erectors, LP                      Episcopal Health Foundation
P.O. Box 537                               2227 Wilson Road                               Suite 300
Crookston, MN 56716-0537                   Humble, TX 77396-4415                          500 Fannin St.
                                                                                          Houston, TX 77002-3159


Excel Carpets, Inc.                        Fast Track Specialties, Inc.                   Fastenal Company
511 Rankin Circle North                    Suite 180                                      P.O. Box 978
Houston, TX 77073-4311                     7807 Bluff Point Drive                         Winona, MN 55987-0978
                                           Houston, TX 77086-1782


Fireproof Contractors, Inc.                First Colony Church of Christ                  First Colony Church of Christ
P.O. Box 550107                            2140 First Colony Blvd                         c/o Jeff Carruth
Houston, TX 77255-0107                     Sugarland, TX 77479-4299                       Weycer, Kaplan, Pulaski & Zuber, P.C.
                                                                                          3030 Matlock Rd., Ste. 201
                                                                                          Arlington, TX 76015-2936

Forney Construction                        Frank H. Holcomb PC                            GTS Window Coverings LLC
Suite 200                                  Suite 2930                                     11423 Sagegrove Lane
8945 Long Point Rd                         1330 Post Oak Blvd                             Houston, TX 77089-4623
Houston, TX 77055-3036                     Houston, TX 77056-3234


Gainsborough Waste                         Graco Interests, Inc. d/b/a Graco Mechanical   Graco Mechanical
P.O. Box 4509-2                            c/o Jeff Carruth                               5910 Schmacher Lane
Houston, TX 77210-4509                     Weycer, Kaplan, Pulaski & Zuber, P.C.          Houston, TX 77057-7188
                                           3030 Matlock Rd., #201
                                           Arlington, TX 76015-2936

Graves Mechanical                          Gulf Coast Erectors, Inc.                      Gulf Storage Partners, LP
5941 Schumacher Lane                       5314 Spencer Highway                           P.O. Box 791003
Houston, TX 77057                          Pasadena, TX 77505-1514                        Baltimore, MD 21279-1003
(p)HG FIRE SYSTEMS LP      Case 17-34283 Document    63Structural
                                           High Quality   Filed in TXSB on 10/18/19 Hilti,
                                                                                     PageInc.
                                                                                           8 of
                                                                                              - TX13
15102 SOMMERMEYER                              10322 Chatteron Drive                  Dept 0890
SUITE 100                                      Houston, TX 77043-3335                 P.O. Box 120001
HOUSTON TX 77041-5366                                                                 Dallas, TX 75312-0890


Home Depot                                     IPlumb                                 Iklo Glass
Dept 32-2500754670                             308 W. Pasadena Freeway                47 Lake Sterling Gate Dr
P.O. Box 9001043                               Pasadena, TX 77506-1240                Spring, TX 77379-7205
Louisville, KY 40290-1043


Image Stone Design, Inc.                       Industrial Matt Co.                    Internal Revenue Service
3118 Golfcrest Blvd                            P.O. Box 896                           Centralized Insolvency Operation
Houston, TX 77087-2406                         Clute, TX 77531-0896                   P.O. Box 7346
                                                                                      Philadelphia, PA 19101-7346


Internal Revenue Service                       (p)INTERNAL REVENUE SERVICE            Iron Access
P.O. Box 7346                                  CENTRALIZED INSOLVENCY OPERATIONS      3815 Hollister St.
Philadelphia, PA 19101-7346                    PO BOX 7346                            Houston, TX 77080-1848
                                               PHILADELPHIA PA 19101-7346


Iron Works Doors                               Jarrar & Company, Inc.                 KGI
4603 Bridgeview Lane                           9119 Emmott Road                       Suite 450
Spring, TX 77388-4304                          Houston, TX 77040-3513                 11251 NW Freeway
                                                                                      Houston, TX 77092-6553


Kiley Advisors, LLC                            Kirksey                                Klinger Specialties Direct, Inc
Suite 104                                      6909 Portwest Drive                    3300 East TC Jester Blvd
99 Deteringm                                   Houston, TX 77024-8010                 Houston, TX 77018
Houston, TX 77007-8225


Krongberg’s Flags/Flagpoles                    LMS                                    Lakey Electric Co
7106 Mapelridge                                c/o Jeffrey B. Kaiser                  P.O. Box 40279
Houston, TX 77081-6626                         Kaiser, PC                             Houston, TX 77240-0279
                                               2211 Norfolk Suite 528
                                               Houston, TX 77098-4055

Lamm & Smith, PC                               Landscape Art, Inc.                    Larry Minns, Landscape Architect
Suite 650                                      2303 Dickinson Ave                     7670 S. FM 1486 Road
3730 Kirby Dr                                  League City, TX 77573-8209             Montgomery, TX 77316-3822
Houston, TX 77098-3930


Laser Acoustics, Inc.                          Leon’s Concrete                        Letsos Company
Suite K                                        6641 Midfield Drive                    P.O. Box 36927
11391 Meadowglen Lane                          Houston, TX 77092-5717                 Houston, TX 77236-6927
Houston, TX 77082-2648


Life Storage                                   Light                                  Lighthouse of Houston
8726 Long Point Rd.                            4202 Richmond Ave                      3602 West Dallas
Houston, TX 77055-3004                         Houston, TX 77027-6814                 Houston, TX 77019-1704
Linbeck                     Case 17-34283 Document    63 Filed in TXSB on 10/18/19 Livingston
                                            Linden Kranz                            Page 9 Construction
                                                                                              of 13     Services
Suite 1200                                      1931 Wilderness Point Rd                719 Turkey Creek
3900 Essex Lane                                 Kingwood, TX 77339-2240                 Livingston, TX 77351-8245
Houston, TX 77027-5486


Lone Star Overnight                             Lowe’s Commercial Services 4847         Lowery Masonry, LLC
P.O. Box 149225                                 P.O. Box 530954                         P.O. Box 750516
Austin, TX 78714-9225                           Atlanta, GA 30353-0954                  Houston, TX 77275-0516



Luebe Jones, Inc. d/b/a Avadek                  MGC, Inc.                               MHC Consulting Inc.
c/o Charles E. Lobb Jr.                         6800 Sands Point Drie                   P.O. Box 9057
Murray Lobb, PLLC                               Houston, TX 77074-3730                  Spring, TX 77387-9057
700 Gemini Suite 115
Houston, TX 77058-2735

Marchal/Stevenson Elev. Co.                     Mark Ward                               Mary Fretz Senn
11050 W. Little York Bldg E                     No. 2C                                  9421 El Rey Blvd.
Houston, TX 77041-5056                          919 Prarie Street                       Austin, TX 78737-1266
                                                Houston, TX 77002-3141


McLemore bldg. Maintenance, Inc.                Melton and Melton                       Meyerland Glass & Mirror Co
110 Fargo Street                                Suite 200                               12922 Murphy Road
Houston, TX 77006-2097                          6002 Rogerdale,                         Stafford, TX 77477-3904
                                                Houston, TX 77072-1660


Michael Crowsen                                 Millis Equipment                        Minuteman Press Downtown
3115 Virginia Street                            Suite 240                               Suite A
Houston, TX 77098-2133                          931 Pheasant Valley Dr                  2117 Chenevert St
                                                Missouri City, TX 77489-1323            Houston, TX 77003-5845


Mobile Mini, Inc.                               Montalbano Lumber                       Naegeli Transportation
P.O. Box 7144                                   1309 Houston Avenue                     7201 Easthaven Blvd
Pasadena, CA 91109-7144                         Houston, TX 77007-6296                  Houston, TX 77017-6503



National Construction Rentals                   National Terrazzo Tile & Marble, Inc    Occupational Health Centers of Southwest
16207 Aldine Westfield                          5728 Hoodstreet                         P.O. Box 9005
Houston, TX 77032-1307                          Houston, TX 77023-5998                  Addison, TX 75001-9005



Overhead Door Company of Houston                Pampered Lawns, Inc.                    Peak Roofing, Inc.
11533 South Main                                5602 Centralcrest                       P.O. Box 70768
Houston, TX 77025-5987                          Houston, TX 77092-7096                  Houston, TX 77270-0768



Pella Products of Houston                       Pinnacle Structural Engineers           Precision Demolition, LLC
8700 Fallbrook Dr                               Suite 410                               5909 Gardendale Dr
Houston, TX 77064-3317                          3120 Southwest Freeway                  Houston, TX 77092-7019
                                                Houston, TX 77098-4510
                         Case
Preferred Foodservice Design     17-34283
                             Supply, Inc  Document     63 Filed
                                             Pyrotex Systems, Inc. in TXSB on 10/18/19 Quality
                                                                                       Page Fasteners,
                                                                                               10 of 13Inc.
Suite 575                                    P.O. Box 1639                             15023 Willis St
3605 Willowbend Blvd                         Alvin, TX 77512-1639                      Houston, TX 77032-2723
Houston, TX 77054-1196


R&M Service, Inc.                           Ram Tool & Supply Inc.                       Raven Mechanical, LP
918 W Donovan                               P.O. Box 743487                              1618 Buschong
Houston, TX 77091-5653                      Atlanta, GA 30374-3487                       Houston, TX 77039-1207



Raven Mechanical, LP                        Regions Bank                                 Regions Mortgage
c/o Andrews Myers, PC                       P.O. Box 11007                               P.O. Box 2153
Attn: Lisa M. Norman                        Birmingham, AL 35288-0001                    Dept 2520
1885 Saint James Place, 15th Floor                                                       Birmingham, AL 35287-2520
Houston, Texas 77056-4176

Remedy Roofing, Inc.                        Renfrow Metalsmiths                          Renfrow Metalsmiths, LLC
Suite 402                                   923 Wakefield Dr                             c/o Andrews Myers, PC
21925 Franz Road                            Houston, TX 77018-6203                       Attn: Lisa M. Norman
Katy, TX 77449-3723                                                                      1885 Saint James Place, 15th Floor
                                                                                         Houston, Texas 77056-4176

Rob Pelletier Construction, Inc.            Robert R Fretz Jr                            Rodney Tow
12402 Eastex Freeway                        American Life Insurance Corp                 26219 Oak Ridge Drive
Houston, TX 77039-4916                      5900 O Street                                The Woodlands, TX 77380-1960
                                            Lincoln NE 68510


Rosslyn Building Systems, Inc,.             Ryder Insulation, Inc.                       SKAI Foundation
10803 Donna                                 5810 N. Houston Rosslyn Road                 c/o Aaron J. Power
Houston, TX 77041-5101                      Houston, TX 77091-3402                       Porter Hedges LLP
                                                                                         1000 Main Street, 36th Floor
                                                                                         Houston, TX 77002-6341

Sani-Weld, Inc.                             Santiago Iron Works, Inc.                    Scaffold Solutions Inc
1614 Isom                                   2237 Wisconsin Street                        P.O. Box 590733
Houston, TX 77039-5310                      Dallas, TX 75229-2031                        Houston, TX 77259-0733



Schindler Elevator Corp                     Sherwin-Williams                             Skai Foundation
Suite 100                                   2821 Gulf Freeway                            580 T.C. Jester
2105 Silber Road                            Houston, TX 77003-5332                       Houston, TX 77007-1127
Houston, TX 77055-2653


Southern Tile & Terrazzo, Inc.              Stainless Steel Custom Fabricators, Inc.     (p)TEXAS COMPTROLLER OF PUBLIC ACCOUNTS
6829 Lindbergh                              P.O. Box 450132                              REVENUE ACCOUNTING DIV - BANKRUPTCY SECTION
Houston, TX 77087-5118                      Houston, TX 77245-0132                       PO BOX 13528
                                                                                         AUSTIN TX 78711-3528


Steelco, Inc.                               Steven R. Hill Construction Co., Inc         Sun Coast Resources, Inc.
Suite 260                                   8534 Rayson Road                             P.O. Box 202603
11210 Steeplecrest Dr                       Houston, TX 77080-3625                       Dallas, TX 75320-2603
Houston, TX 77065-4988
Sunbelt Rentals        Case 17-34283 Document     63Tinting
                                        Sunset Glass    Filed in TXSB on 10/18/19 Superior
                                                                                  Page 11      of 13Fire System
                                                                                           Automatic
P.O. Box 409211                         3760 Greenbriar Dr                        94 White Road
Atlanta, GA 30384-9211                  Stafford, TX 77477-3924                   Houston, TX 77047-6008



Synchrony Bank                             T.A. Construction Services LLC             T.A.S. Commercial Concrete Construction
c/o PRA Receivables Management, LLC        Building A                                 19319 Oil Cente Blvd
PO Box 41021                               21912 Mueschke Road                        Houston, TX 77073-3354
Norfolk VA 23541-1021                      Tomball, TX 77377-3519


T.W. Robinson, Inc.                        TDC Waterproofing and Restoration LLC      (c)TLS TRUCKING & CONTRACTING INC
Suite 100                                  4417 Campbell Rd                           910 HUNTERS CREEK WAY
16757 Squyres Rd,.                         Houston, TX 77041-9102                     HOCKLEY TX 77447-3855
Spring, TX 77379-7294


TNTMC                                      Texas Comptroller of Public Accounts       Texas Mutual Insurance Company
P.O. Box 55544                             c/o Office of the Attorney General         P.O. Box 841843
Houston, TX 77255-5544                     Bankruptcy - Collections Division MC-008   Dallas, TX 75284-1843
                                           PO Box 12548
                                           Austin TX 78711-2548

Texas Outhouse, Inc.                       Texas Workforce Commssion                  Thomas Printworks
P.O. Box 4509-1                            Labor Law Payment Division                 P.O. Box 740967
Houston, TX 77210-4509                     P.O. Box 684483                            Dallas, TX 75374-0967
                                           Austin, TX 78768-4483


Tobin & Rooney, Inc.                       Tobin & Rooney, Inc.                       Triple-S Steel Supply Company
P.O. Box 6873                              c/o Andrews Myers, PC                      P.O. Box 21119
Houston, TX 77265-6873                     Attn: Lisa M. Norman                       Houston, TX 77226-1119
                                           1885 Saint James Place, 15th Floor
                                           Houston, Texas 77056-4176

US Trustee                                 Underwood Sheetmetal, Inc.                 United States Trustee
Office of the US Trustee                   P.O. Box 70768                             Suite 3516
515 Rusk Ave                               Houston, TX 77270-0768                     515 Rusk
Ste 3516                                                                              Houston, TX 77002-2604
Houston, TX 77002-2604

VR Special Services                        Vaughn Construction Company                Vernon Masonry Inc
P.O. Box 12958                             10355 Westpark Dr                          P.O. Box 878
Houston, TX 77217-2958                     Houston, TX 77042-5312                     Humble, TX 77347-0878



W&W Telephone Co., Inc                     Western Specialty Contractors of America   William C. Lipscomb
P.O. Box 576                               8813 Fairbanks N. Houston Rd               1710 Burnett St.
Tomball, TX 77377-0576                     Houston, TX 77064-6802                     Houston, TX 77026-7213



Williams Scottsman, Inc                    Winstead PC                                Young & Sons Drywall, LP
P.O. Box 91975                             Attn; Accounts Receivables                 P.O. Box 550683
Chicago, IL 60693-1975                     2728 N. Harwood Street                     Houston, TX 77255-0683
                                           Dallas, TX 75201-1743
Ziegler Cooper ArchitectsCase 17-34283 Document
                                          Zimmerman 63    FiledInc.
                                                    Interests,   in TXSB on 10/18/19 Edwin
                                                                                     Page(Jack)
                                                                                             12 ofLamm13III
Suite 1200                                3410 Montrose Blvd                         3730 Kirby Drive, Suite 650
600 Travis                                Houston, TX 77006-4329                     Houston, TX 77098-3930
Houston, TX 77002-1279


Johnie J   Patterson                                  Mike Jarrar Jarrar & Company, Inc.                   Miriam Goott
Walker &   Patterson,P.C.                             9119 Emmott Rd.                                      Walker & Patterson, PC
P.O. Box   61301                                      Houston, TX 77040-3513                               PO Box 61301
Houston,   TX 77208-1301                                                                                   Houston, TX 77208-1301


Robert Reynolds Fretz Jr                              Rodney D Tow
919 Prairie St. No. 3C                                Rodney Tow, PLLC
Houston, TX 77002-3142                                1122 Highborne Cay Court
                                                      Texas City, TX 77590-1403




                     The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                     by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


CLS Technology, Inc.                                  HG Fire Systems, LP                                  Internal Revenue Service
P.O. Box 1066                                         Suite 100                                            Special Procedures
Katy, TX 77492-1066                                   15102 Sommermeyer                                    1919 Smith, Stop 5024 HOU
                                                      Houston, TX 77041                                    Houston, TX 77002


(d)Internal Revenue Service                           State Comptroller
Special Procedures                                    Revenue Accounting Div - Bankr. Sec
Stop 5022 HOU                                         P.O. Box 13528
1919 Smith St.                                        Austin, TX 78711-3528
Houston, TX 77002



                                      Addresses marked (c) above for the following entity/entities were corrected
                                           as required by the USPS Locatable Address Conversion System (LACS).


TLS Trucking & Contracting Inc
20910 Hunters Creek Way
Hockley, TX 77447




                   The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)B & D Contractors, Inc.                            (u)Blumenthal, Inc. 401(k) ESOP                      (u)Crawford Electric Supply Company, Inc.
(u)Raven Mechanical, LP Case 17-34283 Document     63 Filed in TXSB on 10/18/19 (u)Tobin
                                         (u)SKAI Foundation                     Page 13      of 13Inc.
                                                                                         & Rooney,




(u)Lamm & Smith, P.C.                    (d)PRA Receivables Management, LLC        End of Label Matrix
                                         PO Box 41021                              Mailable recipients   217
                                         Norfolk, VA 23541-1021                    Bypassed recipients     8
                                                                                   Total                 225
